Case 18-82948-CRJ11   Doc 70     Filed 12/14/18 Entered 12/14/18 11:48:16   Desc Main
                               Document      Page 1 of 14
Case 18-82948-CRJ11   Doc 70     Filed 12/14/18 Entered 12/14/18 11:48:16   Desc Main
                               Document      Page 2 of 14
Case 18-82948-CRJ11   Doc 70     Filed 12/14/18 Entered 12/14/18 11:48:16   Desc Main
                               Document      Page 3 of 14
Case 18-82948-CRJ11   Doc 70     Filed 12/14/18 Entered 12/14/18 11:48:16   Desc Main
                               Document      Page 4 of 14
Case 18-82948-CRJ11   Doc 70     Filed 12/14/18 Entered 12/14/18 11:48:16   Desc Main
                               Document      Page 5 of 14
Case 18-82948-CRJ11   Doc 70     Filed 12/14/18 Entered 12/14/18 11:48:16   Desc Main
                               Document      Page 6 of 14
Case 18-82948-CRJ11   Doc 70     Filed 12/14/18 Entered 12/14/18 11:48:16   Desc Main
                               Document      Page 7 of 14
Case 18-82948-CRJ11   Doc 70     Filed 12/14/18 Entered 12/14/18 11:48:16   Desc Main
                               Document      Page 8 of 14
Case 18-82948-CRJ11   Doc 70     Filed 12/14/18 Entered 12/14/18 11:48:16   Desc Main
                               Document      Page 9 of 14
Case 18-82948-CRJ11   Doc 70 Filed 12/14/18 Entered 12/14/18 11:48:16   Desc Main
                            Document    Page 10 of 14
Case 18-82948-CRJ11   Doc 70 Filed 12/14/18 Entered 12/14/18 11:48:16   Desc Main
                            Document    Page 11 of 14
Case 18-82948-CRJ11   Doc 70 Filed 12/14/18 Entered 12/14/18 11:48:16   Desc Main
                            Document    Page 12 of 14
Case 18-82948-CRJ11   Doc 70 Filed 12/14/18 Entered 12/14/18 11:48:16   Desc Main
                            Document    Page 13 of 14
Case 18-82948-CRJ11   Doc 70 Filed 12/14/18 Entered 12/14/18 11:48:16   Desc Main
                            Document    Page 14 of 14
